

People v Nantan (2025 NY Slip Op 50741(U))



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People v Nantan (Tammy)


2025 NY Slip Op 50741(U)


Decided on May 12, 2025


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on May 12, 2025
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Tisch, James, JJ.



570196/18

The People of the State of New York, Respondent, 
againstTammy Nantan, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, Bronx County (Margaret W. Martin, J., at speedy trial motion; George A. Grasso, J., at plea and sentencing), rendered February 22, 2018, convicting her, upon her plea of guilty, of harassment in the second degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Margaret W. Martin, J., at speedy trial motion; George A. Grasso, J., at plea and sentencing), rendered February 22, 2018, affirmed. 
Defendant forfeited review of her speedy trial claim by pleading guilty (see People v Suarez, 55 NY2d 940 [1982]). The current version of CPL 30.30 (6), which permits defendants who plead guilty to raise statutory speedy trial claims on appeal, became effective after defendant was convicted and does not apply retroactively (see People v Rodriguez, 216 AD3d 436 [2023], lv denied 40 NY3d 999 [2023]; People v Lara—Medina, 195 AD3d 542 [2021], lv denied 37 NY3d 993 [2021]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur 
Decision Date: May 12, 2025







